









Affirmed and Opinion filed January 23, 2003









Affirmed and Opinion filed January 23, 2003.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-00675-CR

____________

&nbsp;

RICKY
WOLFE, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On
Appeal from the 248th District Court

Harris
County, Texas

Trial
Court Cause No. 730,611

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant entered a plea of guilty before the jury to the
offense of aggravated robbery.&nbsp; On
December 13, 1996, the trial court, based on the jury=s verdict on sentencing, placed
appellant on probation for ten years.&nbsp; On
April 3, 2002, the State filed a motion to revoke alleging appellant had
violated the terms and conditions of his probation.&nbsp; On May 29, 2002, the State filed an amended
motion.&nbsp; At the hearing, appellant pled
true to the alleged violation.&nbsp; On June 14,
2002, the trial court granted the motion to revoke and sentenced appellant to
ten years= confinement in the Texas Department
of Criminal Justice--Institutional Division.&nbsp;
Appellant filed a pro se notice of appeal.








Appellant=s appointed counsel filed a brief in which she concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), by
presenting a professional evaluation of the record demonstrating why there are
no arguable grounds to be advanced.&nbsp; See
High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim.
App. 1991).&nbsp; As of this date, no pro se
response has been filed.

We have carefully reviewed the record and counsel=s brief and agree the appeal is
wholly frivolous and without merit.&nbsp;
Further, we find no reversible error in the record.&nbsp; A discussion of the brief would add nothing
to the jurisprudence of the state.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Opinion
filed January 23, 2003.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do Not Publish C Tex. R.
App. P. 47.2(b).





